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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


                                              Order of Dismissal
                                              12-5998 (SRC)




MENDOZA v. DRAGSETH et al




               It having been reported to the Court that the above-captioned action has been

       settled, and that the request for an order of dismissal is not based on a desire to adjourn or

       delay the proceedings herein;

                               18th DAY OF June
               IT IS on this                       , 2013

               ORDERED THAT:

               (1) This action is hereby DISMISSED without cost and without prejudice to the
right, upon motion and good cause shown, within 60 days, to reopen this action if the settlement
is not consummated; and



                (2) If any party shall move to set aside this Order of Dismissal as provided in the
first paragraph in deciding such motion the Court retains jurisdiction of the matter to the extent
necessary to enforce the terms and conditions of any settlement entered into between the parties.
                                              S/Stanley R. Chesler,USDJ
